          Case 5:21-cv-00844-XR Document 437 Filed 06/08/22 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

  LA UNIÓN DEL PUEBLO ENTERO, et al.,                §
                Plaintiffs,                          §
                                                     §
  v.                                                 §              5:21-CV-0844-XR
                                                     §             [Consolidated Cases]
  GREGORY W. ABBOTT, et al.,                         §
              Defendants.                            §




                             AMENDED SCHEDULING ORDER

        On this date, the Court considered the parties’ Notice of Partly Agreed Proposed Amended
Schedule. ECF No. 436. After careful consideration, the Court issues this amended scheduling
order. If a deadline set in this order falls on a weekend or a holiday, the effective day will be the
next business day.

       PRIMARY ELECTION DISCOVERY

        The deadline for completion of discovery on matters related to the primary election as to
Plaintiffs, State Defendants, and County Defendants is August 12, 2022.

       The deadline for completion of discovery on matters related to the primary election as to
Intervenors is October 24, 2022.

       Written discovery requests are not timely if they are filed so close to these deadlines that
under the Federal Rules of Civil Procedure the response would not be due until after the applicable
deadline.

        Discovery during the primary election discovery period may include discovery from
witnesses both already and newly disclosed by Intervenors; depositions of Christina Adkins and
Kristi Hart; discovery from non-party witnesses disclosed by plaintiffs both before and after April
18, 2022; discovery from the County District Attorney and Election Administrator Defendants;
and depositions of any witnesses who may have relevant testimony concerning the documents at
issue in the Court’s order granting Plaintiff League of United Latin American Citizens’ motion to
compel (ECF No. 425), subject to any ruling made by the Fifth Circuit Court of Appeals.

       Intervenors may conduct additional, but limited, nonduplicative discovery.




                                                 1
          Case 5:21-cv-00844-XR Document 437 Filed 06/08/22 Page 2 of 5




        GENERAL ELECTION DISCOVERY

       Discovery on matters related to the general election as to all parties shall open on October
24, 2022.

         The deadline for completion of fact discovery on matters related to the general election as
to all parties is March 17, 2023. Written discovery requests are not timely if they are filed so close
to this deadline that under the Federal Rules of Civil Procedure the response would not be due
until after the deadline.

       The deadline for completion of expert discovery on matters related to the general election,
including depositions of experts, as to all parties is March 31, 2023.

        Discovery during the general election discovery period may include discovery on any and
all matters relating to the November 2022 general election, as well as any and all documents
produced in response to any and all successful motion(s) to compel filed during the primary
election discovery period.

       The parties may commence or reopen no more than 10 depositions per side, absent further
leave of the Court.

        Discovery served on the County Election Administrator Defendants between October 24,
2022 and November 21, 2022 shall be ABATED. The time for the County Election Administrator
Defendants to respond to any and all discovery request(s) shall begin to accrue on November 21,
2022. The parties agree to accommodate reasonable extension requests made by the County
Election Administrator Defendants and their personnel with respect to responding to discovery
requests during the general election discovery period, given the overlap of this period with the
general election and the County Election Administrator Defendants’ responsibilities prior to,
during, and after the general election.

        EXPERTS

        With respect to discovery on matters related to the primary election:

         Intervenors shall file their designation of testifying experts and serve on all parties, but not
file, the materials required by FED. R. CIV. P. 26(a)(2)(B) on or before September 2, 2022;

       All parties shall file their designations of rebuttal experts and serve on all parties, not file,
the materials required by FED. R. CIV. P. 26(a)(2)(B), to the extent not already served, on or before
September 20, 2022; and

      The deadline for filing supplemental reports required under FED. R. CIV. P. 26(e) is
October 24, 2022.



                                                   2
          Case 5:21-cv-00844-XR Document 437 Filed 06/08/22 Page 3 of 5




        With respect to discovery on matters related to the general election:

       All parties asserting claims for relief shall file their designation of testifying experts and
serve on all parties, but not file, the materials required by FED. R. CIV. P. 26(a)(2)(B) on or before
February 3, 2023;

       Parties resisting claims for relief shall file their designation of testifying experts and serve
on all parties, but not file, the materials required by FED. R. CIV. P. 26(a)(2)(B) on or before
February 23, 2023;

        All parties shall file all designations of rebuttal experts and serve on all parties the materials
required by FED. R. CIV. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already served,
within fifteen (15) days of receipt of the report of the opposing expert; and

       The deadline for filing supplemental reports required under FED. R. CIV. P. 26(e) is April
7, 2023.

        PRETRIAL MOTIONS

        No motion (other than a motion in limine) may be filed after this date except for good
cause. The deadline to file motions (including dispositive motions and Daubert motions) is April
28, 2023. The deadline to file responses is May 12, 2023. The deadline to file replies is May 19,
2023. These deadlines are also applicable to the filing of any summary judgment motion under
FED. R. CIV. P. 56 and any defense of qualified immunity. Leave of court is automatically given to
file motions, responses, and replies not to exceed 30 pages in length. FED. R. CIV. P. 6(d) does not
apply to the time limits set forth in Local Rule CV-7 for responses and replies to motions.

        WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

        The deadline for filing Rule 26(a)(3) disclosures is June 2, 2023.

      The deadline for filing objections under Rule 26(a)(3) is June 16, 2023. Any objections
not made will be deemed waived.

        JOINT PRETRIAL ORDER AND MOTION IN LIMINE

        The deadline to file a Final Joint Pretrial Order and any motion in limine is June 30, 2023.

       All attorneys are responsible for preparing the Final Joint Pretrial Order, which must
contain the following:

        (1) a short statement identifying the Court’s jurisdiction. If there is an unresolved
        jurisdictional question, state it;

        (2) a brief statement of the case, one that the judge could read to the jury panel for an
        introduction to the facts and parties;

                                                    3
          Case 5:21-cv-00844-XR Document 437 Filed 06/08/22 Page 4 of 5




       (3) a summary of the remaining claims and defenses of each party;

       (4) a list of facts all parties have reached agreement upon;

       (5) a list of contested issues of fact;

       (6) a list of the legal propositions that are not in dispute;

       (7) a list of contested issues of law;

       (8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for
       examination by opposing counsel. All documentary exhibits must be exchanged before the
       final pre-trial conference. The exhibit list should clearly reflect whether a particular exhibit
       is objected to or whether there are no objections to the exhibit;

       (9) a list of the names and addresses of witnesses who may be called with a brief statement
       of the nature of their testimony;

       (10) an estimate of the length of trial;

       (11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a
       proposed charge, including instructions, definitions, and special interrogatories, with
       authority;

       (12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions
       of law, with authority;

       (13) the signatures of all attorneys; and

       (14) a place for the date and the signature of the presiding judge.

       FINAL PRETRIAL CONFERENCE

       The Final Pretrial Conference shall be held on Thursday, July 6, 2023 at 10:30 a.m.

        Motions in limine, if any, will be heard on this date. Counsel should confer prior to this
hearing on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending
to use a demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to
the Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

       TRIAL

       The Bench Trial Date is Monday, July 17, 2023 at 10:30 a.m.




                                                   4
         Case 5:21-cv-00844-XR Document 437 Filed 06/08/22 Page 5 of 5




       The Court shall entertain requests to modify this amended scheduling order based on future
and unforeseen events, including, for example, the need for a run-off election.

       It is so ORDERED.

       SIGNED this June 8, 2022




                                           _________________________________
                                           XAVIER RODRIGUEZ
                                           UNITED STATES DISTRICT JUDGE




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